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                               UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


  PRAVEEN NARRA KUMAR, et al.,                       Case No. 21-cv-09141-VC
                 Plaintiffs,
                                                     TENTATIVE RULING
          v.

  SKYHOP GLOBAL, LLC, et al.,
                 Defendants.



       The Court’s tentative ruling is as follows: Indyzen and Narra’s claims against SkyHop

Tech and Scotto must be sent to arbitration because of the arbitration provision in the June 2020

Development Agreement. See Dkt. No. 1, Exh. H. Indyzen may enforce the agreement as the

principal bound by the signature of its authorized agent, Narra. Narra is entitled to enforce the

agreement as Indyzen’s agent. See Dryer v. Los Angeles Rams, 40 Cal. 3d 406, 418 (1985).

SkyHop Tech is bound by the agreement by the signature of its authorized agent, Scotto, acting
within the scope of her authority as a corporate officer. And Scotto is bound by the clause as an

agent of SkyHop Tech who personally benefited from the development agreement. See Cohen v.

TNP 2008 Participating Notes Program, LLC, 31 Cal. App. 5th 840, 860–61 (Cal. Ct. App.

2019). The Court cannot identify a theory by which the claims against SkyHop Global may be

compelled to arbitration.

       IT IS SO ORDERED.

Dated: May 25, 2022
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
